
43 So.3d 919 (2010)
Michael CARDONA, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-2580.
District Court of Appeal of Florida, Fifth District.
September 10, 2010.
*920 Michael Cardona, Madison, pro se.
Bill McCollum, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number 2008-CF-000223, in the Circuit Court in and for Hernando County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
MONACO, C.J., COHEN and JACOBUS, JJ., concur.
